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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                              )
JOSEPH MANTHA on behalf of himself            )
and others similarly situated,                )
                                              )
       Plaintiff,                             )
                                              )
v.                                            )       Civil No. 19-12235-LTS
                                              )
QUOTEWIZARD.COM, LLC                          )
                                              )
       Defendant.                             )
                                              )

                ORDER ON DISCOVERY SCHEDULE (DOC. NOS. 313, 316)

                                           May 15, 2023

SOROKIN, J.

       On March 4, 2022, the Court revised the governing schedule, established August 17,

2022, extending the deadline for class discovery, further deadlines for the completion of expert

discovery, and a motion for class discovery. Doc. No. 272. On June 28, 2022, the Court clarified

some confusion among the parties, explaining that the current phase of discovery “encompasses

all other discovery in this proposed class action. The current phase [Phase II] … is not limited to

the so-called class discovery.” Doc. No. 279. Pursuant to a still later order, the Court directed the

parties to propose their joint or separate positions regarding a schedule for the remainder of the

case. Doc. No. 292 at 9-10. In a subsequent stipulation filed by the parties, Doc. No. 296, they

agreed to a date of October 7, 2022, for Defendant to complete its required production in

response to the Court’s discovery order. The Court allowed this request, Doc. No. 299, in effect

extending the previously established fact discovery deadline for certain disclosures.
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       On December 26, 2022, the parties filed a further discovery status report in which they

jointly stated the following: “With respect to QuoteWizard’s affirmative defense production

(including consent) the Parties have agreed that all of QuoteWizard’s production (both past and

expected as outlined above) shall be deemed timely, and that QuoteWizard’s affirmative defense

discovery production will be closed as of January 16, 2023.” Doc. No. 306 at 1-2. The parties

made one exception to this agreement not now relevant. The parties further reported that Plaintiff

would evaluate the affirmative defense disclosures for sixty days, and then they would propose a

revised schedule for “the remainder of discovery” followed by expert discovery and class

certification motion practice. The Court allowed this request of the parties. Doc. 307.

       Now before the Court are the parties’ competing schedules for the remainder of the case.

The significant difference separating them concerns whether, during the remaining fact discovery

period both parties propose, Defendant may take third party discovery from companies with

which it worked in order to obtain documents supporting its affirmative defense of consent

(Defendant’s position), or whether the aforementioned agreement that “affirmative defense

discovery production will be closed” precludes Defendant from taking further discovery on its

affirmative defense of consent (Plaintiff’s position). At the request of defense counsel, the Court

has reviewed the email exchanges between counsel. Doc. No. 318. Defense counsel did say, on

October 24, 2022, “your class discovery requests relate to information and documents in QW’s

possession, custody and control. This doesn’t include third-party records.” Doc. No. 318-1 at 16.

Defense counsel proceeded to explain Defendant has pending subpoenas and cannot control the

timing of discovery from third parties. Id.

       The dispute on the text is close, and prudent lawyering likely would have explained the

caveat regarding third party discovery, especially in light of the Court’s earlier admonition to



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raise and to resolve early disputes over the scope of possession, custody, or control rather than

merely reporting discovery had closed. Nonetheless, on balance, and given the preference for

resolution of disputes on the merits, see Fed. R. Civ. P. 1, the Court concludes that Defendant

may take third party discovery on its affirmative defense of consent within the time periods

established below. Thus, the request to quash the third party subpoena is DENIED. Defendant is

warned that the Court anticipates no further extension in these deadlines. The parties have been

on notice at least since June 28, 2022, that this phase of fact discovery is the last phase and

encompasses everything. The case is old, and Defendant has already had substantial time to

obtain discovery for their affirmative defenses, especially as much of the discovery comes from

either Defendant’s partners or partners of its partners.

       Accordingly, the schedule is revised as follows:

       All Third Party Fact Discovery Concludes:              June 30, 2023

       All Fact Discovery Concludes (except depositions): July 24, 2023

       All Fact Depositions:                                  August 23, 2023

       Expert Report Deadline:                                September 22, 2023

       Expert Rebuttal Reports                                October 10, 2023

       Expert Depositions:                                    October 23, 2023

       Motion for Class Certification:                        November 21, 2023

       The opposition to the Motion is due thirty days after the filing deadline, and the reply,

limited to five pages, is due fourteen days after filing of the opposition. The Court will hold a

Rule 16 conference after the ruling on the Motion for Class Certification to establish a date for

trial, and to address any other matters then requiring resolution.




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       The parties are reminded of the provisions of the Court’s standing order including

specifically that motions to compel are due seven days after conclusion of the relevant discovery

deadline absent an extension from the Court. Those provisions of the Court’s standing

scheduling order are incorporated herein. The Clerk shall docket a blank scheduling order in the

docket of this case for the parties’ reference with respect to the standard provisions.



                                                      SO ORDERED.


                                                      /s/ Leo T. Sorokin
                                                      Leo T. Sorokin
                                                      United States District Judge




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